         Case 1:20-cv-00891-EK-SJB Document 12 Filed 05/08/20 Page 1 of 2 PageID #: 76

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

                     ERICK DIAZ CRUZ                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 20 Civ. 891
                                                                     )
  HENRY V. SANTANA, Officer of U.S. Immigration                      )
           and Customs Enforcement                                   )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Henry V. Santana, Officer of U.S. Immigration and Customs Enforcement
                                           c/o Department of Homeland Security/U.S. Immigration and Customs Enforcement
                                           NYC Fugitive Operations
                                           26 Federal Plaza
                                           New York, New York 10278


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Katherine Rosenfeld
                                           Scout Katovich
                                           Emery Celli Brinckerhoff & Abady, LLP
                                           600 Fifthe Avenue, 10th Floor
                                           New York, NY 10020

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                CLERK OF COURT

           5/8/2020                                                                s/ Thameera Ramesar
Date:
                                                                                           Signature of Clerk or Deputy Clerk
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 Civil Action No. 20 Civ. 891

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
